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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 2:17-cr-14047-MIDDLEBROOKS

  UNITED STATES OF AMERICA

  vs.

  SCOTT JOSEPH TRADER,

                Defendant.
                                           /


               JOINT CORRECTIONS AND DEFENSE OBJECTIONS TO THE PSR

         The United States of America through the undersigned Assistant United States Attorney,

  and the defendant personally, and through his defense attorney, Assistant Federal Public Defender

  Fletcher Peacock, jointly agree that the following changes/corrections should be made to the

  presentence investigation report (“PSR”).

         1. Paragraph 11:       The substantive content of the chats between the defendant and

             “Victim #1” that are copied in paragraph 11 of the PSR, which include minor edits,

             should be replaced with a more accurate/complete depiction of the chats, which was

             produced by a software program. The software program’s version of the chats is being

             sent via email to the assigned probation officer in order to revise the PSR.

         2. Paragraph 12: The next to last sentence should be changed to reflect that Mr. Trader

             received a withhold of adjudication, not a conviction, for his felony child neglect

             charge.

         3. Paragraph 15:       The portion of the last sentence in paragraph 15 that says “dated

             September 9, 2016,” should be changed to instead say: “written to an SD card on
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           September 9, 2016.”

        4. Paragraph 19:      The portion of the first sentence in paragraph 19 that says “from

           November 5, 2015 through April 24, 2016” should be changed to instead say “from

           November 5, 2015 through April 28, 2016.”

        5. Paragraph 19:      The substantive content of the chats between the defendant and an

           adult female that are copied in paragraph 19 of the PSR, which include minor edits,

           should be replaced with a more accurate/complete depiction of the chats, which was

           produced by a software program. The software program’s version of the chats is being

           sent via email to the assigned probation officer in order to revise the PSR.

        6. Paragraph 21:      The portion of the first sentence in paragraph 21 that says “between

           June 26, 2013 and May 30, 2017,” should be changed to instead say; “between June

           17, 2013 and May 30, 2017.”

        7. Paragraph 21:      A sentence should be added to the end of paragraph 21 to say: “the

           word ‘minors’ in this paragraph refers to people representing themselves to be minors.”

        8. Paragraph 21:       The portion of the last sentence in paragraph 21 that says

           “pornographic images of Victim #2 and/or Victim #3” should be changed to instead

           say: “pornographic images involving Victim #2 and/or Victim #3.”

        9. Paragraph 22:       The substantive content of the chats between the defendant and a

           minor female that are copied in paragraph 22 of the PSR, which include minor edits,

           should be replaced with a more accurate/complete depiction of the chats, which was

           produced by a software program. The software program’s version of the chats is being

           sent via email to the assigned probation officer in order to revise the PSR.
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        10. Paragraphs 26 and 27: The substantive content of the chats between the defendant

            and a minor female that are copied in paragraphs 26 and 27 of the PSR, which include

            minor edits, should be replaced with a more accurate/complete depiction of the chats,

            which was produced by a software program. The software program’s version of the

            chats is being sent via email to the assigned probation officer in order to revise the PSR.

        11. Paragraphs 32 and 34: The defendant reserves a challenge to restitution and the

            amounts stated in those paragraphs. The parties agree that the Court should consider

            any restitution claim at a subsequent hearing not more than 90 days after the sentencing.

           DEFENDANT’S OBJECTIONS OPPOSED BY THE GOVERNMENT

        The defendant also makes the following additional objections to the PSR, to which the

  government is opposed:

               a. Paragraph 57: The defendant objects to the statements that: a) he threw

                   Leanne Marchant against a mirror door; b) punched her on the back of her head;

                   and c) told her that he was going to knock her teeth off and throw her down the

                   stairs.

               b. Paragraph 59: The defendant believes he received a withheld adjudication

                   instead of an adjudication of guilt. He also objects to the statement that he

                   grabbed Elizabeth Rutkowski around the neck.

               c. Paragraph 64: The defendant denies the underlying factual allegations.

               d. Paragraph 66: The defendant denies the underlying factual allegations.

               e. Paragraph 67: The defendant denies the underlying factual allegations.

               f. Paragraph 70: The defendant was born in Queens, N. Y., rather than the
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                   Bronx.

                g. Paragraph 77: The defendant believes that he met Leanne Drew when she

                   was 16 years old. Mr. Trader denies that he was physically, mentally and

                   emotionally abusive toward Ms. Drew. He also contends that Ms. Drew was

                   an equal and willing partner in any sexual role playing in which they

                   participated.

                h. Paragraph 78: Mr. Trader denies that he ever physically abused Ms. Varner.

                i. Paragraph 87: Mr. Trader believes he left high school in the ninth grade,

                   rather than the tenth.

                j. Paragraph 118: Mr. Trader requests that the Court permit supervised contact

                   with his daughters during the term of his supervised release.



   Respectfully submitted,

   BENJAMIN G. GREENBERG
   ACTING UNITED STATES ATTORNEY
   By: /s/ Marton Gyires                                       /s/ Fletcher Peacock
   MARTON GYIRES                                           Fletcher Peacock, AFPD
   AUSA                                                    Florida Bar No. 441996
   Court ID No.: A5501696                                  Attorney for Defendant
   101 South U.S. Hwy. 1, Ste. 3100                       109 North Second Street
   Fort Pierce, Florida 34950                              Fort Pierce, Florida 34950
   Telephone: 772-293-0952                                Tel: 772-489-2123
   Marton.Gyires@usdoj.gov                                 Fletcher_Peacock@fd.org
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                                 CERTIFICATE OF SERVICE

         I hereby certify that I electronically filed the foregoing document with the Clerk of the
  Court using CM/ECF.



                                               BENJAMIN G. GREENBERG
                                               ACTING UNITED STATES ATTORNEY

                                                By:            /s/
                                                Marton Gyires
                                                Assistant United States Attorney
                                                A#5501696
                                                Email: marton.gyires@usdoj.gov
                                                United States Attorney's Office
                                                101 South U.S. Hwy. 1, Ste. 3100
                                                Fort Pierce, Florida 34950
                                                Telephone: 772-293-0952
                                                Facsimile: 772-466-1020
